                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )        NO. 3:13-00069
                                              )        JUDGE CAMPBELL
MIGUEL SANCHEZ BRITO and                      )
CLAUDIO PILLADO-CABRERA                       )


                                             ORDER

         The Court held a status conference on July 17, 2013.

         The Court will hold a change of plea hearing for Defendant Brito on July 29, 2013, at

9:30 a.m. Any proposed plea agreement shall be submitted by July 25, 2013.

         The Court will hold a change of plea hearing for Defendant Pillado-Cabrera on July 26,

2013, at 11:00 a.m. Any proposed plea agreement shall be submitted by July 25, 2013.

         IT IS SO ORDERED.



                                                       _______ _________ ____ ___________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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